    Case 4:24-cv-00161-SHL-SBJ Document 9-2 Filed 05/10/24 Page 1 of 1




Iowa Migrant Movement for Justice, et al., v. Attorney General of Iowa Brenna Bird, et al.,
                                4:24-cv-00161-SHL-SBJ
         Plaintiffs’ Brief in Support of Motion for a Preliminary Injunction

                                    Index to Exhibits

  Exhibit Letter      Description
       A              Declaration of Jane Doe
        B             Declaration of Elizabeth Roe
        C             Declaration of Erica Johnson, Iowa Migrant Movement for Justice
       D              Declaration of Michael Tupper, Chief of the Marshalltown Police
                      Department
         E            Declaration of Maria Corona, Iowa Coalition Against Domestic
                      Violence
         F            Declaration of Ry Meyer, Catholic Charities of the Archdiocese of
                      Dubuque
